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                                    Exhibit A
  1.    Simone D. Alexander
  2.    Tamara M. Alfred
  3.    Candice M. Anderson
  4.    Shondricka A. Asberry
  5.    Jassmyn Averett
  6.    James M. Baker
  7.    Shamara A. Balentine
  8.    Angela M. Bankhead
  9.    Kimberly F. Baylis
  10.   Lacricia S. Bethea
  11.   Brittany Bickham
  12.   Michael K. Bigelow II
  13.   Tosca W. Black
  14.   Markeith S. Blackshear
  15.   Erica N. Boswell
  16.   Vivian D. Brevard
  17.   Roylana Brewton
  18.   Justin L. Brown
  19.   Lafiera M. Burr
  20.   Felicia Cargill
  21.   Linda R. Carter
  22.   Hector Castro
  23.   Jocelyn A. Cayard
  24.   Tierynee N. Chadwick
  25.   Rebecca Chatman
  26.   Anitra Clark
  27.   Ellen L. Coleman
  28.   Trineicia S. Coleman
  29.   Consuelo M. Concepcion
  30.   Kristen N. Conner
  31.   Kelvin D. Conway
  32.   Kierstin L. Cowart
  33.   April N. Craven-Thompson
  34.   Meshia V. Daniels
  35.   Carol W. Deams
  36.   Jequetta P. Dean
  37.   Cheryl Demar
  38.   Kiwanis N. Denham
  39.   Raven R. Denham
  40.   Carolyn F. Dever
  41.   Briana J. Dodd
  42.   Casey L. Donald
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  43.   Matthew M. Dugger
  44.   Joseph A. Elmore
  45.   Yasmine Y. Evans
  46.   Nicholas J. Fairley
  47.   Leshantaisha A. Finley
  48.   Lula M. Finley
  49.   James R. Finnemore
  50.   Anna Flemmings
  51.   Kathleen L. Flick
  52.   Quanesha S. Ford
  53.   Landon Franklin
  54.   Don J. Freeman
  55.   Teresa Fulton
  56.   Cherria Gamble
  57.   Marian O. Garner
  58.   Cicely R. Gillispie
  59.   Yvonne A. Gonzalez
  60.   Tracy L. Goode
  61.   Jessica S. Goode
  62.   Tiffany S. Gordon
  63.   Sandra R. Green
  64.   Kelliana R. Griffin
  65.   Fannie Gutierrez
  66.   Ykela S. Hackworth
  67.   Amanda M. Hagler
  68.   Jazmine J. Hahn
  69.   Dontavia R. Haliburton
  70.   Deshanique Hall-Alexander
  71.   Brianna K. Hardin
  72.   Glenda L. Harley
  73.   Nayirah F. Hartfield
  74.   Kristina M. Hatfield
  75.   Gracie L. Hathorn
  76.   Brandon W. Heersink Peguero
  77.   Amber N. Hernandez
  78.   Jasmine M. Holder
  79.   Alexis M. Holmes
  80.   Kisha D. Howard
  81.   Udana M. Howard
  82.   Myhisha V. Howard
  83.   Pamela R. Ingram
  84.   Tonya M. Jackson
  85.   Hayley R. Jefcoat
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  86.    Cynthia D. Johnson
  87.    Yvonne D. Johnson
  88.    Diane Kalina
  89.    Linton S. Koch
  90.    Fallon M. Law
  91.    Jerri E. Ledford
  92.    Precious L. Longmire
  93.    Stephany K. Loredo
  94.    Faith S. Magee
  95.    Shaniquia S. Majors
  96.    Keyashia L. Maladdie
  97.    Latocha R. Marshall
  98.    Chentera R. Mayes
  99.    Raven N. Mcdonald
  100.   Kazavier R. Mcgilberry
  101.   Meghan D. Mcguire
  102.   Tichina J. Mckinney
  103.   Briana J. Mclemore
  104.   Michelle M. Mcleod
  105.   Portia L. Mcnary
  106.   Tiffany M. Medlock
  107.   Devena Mills
  108.   Karizma D. Minnite
  109.   Cacia S. Moffett
  110.   Shashuna Moffett
  111.   Patricia E. Morgan-Bailey
  112.   William E. Morris, Jr.
  113.   Catricia R. Myers
  114.   Natasha R. Neal
  115.   Linda L. Nelson
  116.   Venus R. Nelson
  117.   Mariah D. Nichols
  118.   Shawnequa M. Norwood
  119.   Michelle M. O'berry
  120.   Dayschannel A. Odomes
  121.   Lanette S. Olivo Rivera
  122.   Lakira T. Osgood
  123.   Summer N. Owens
  124.   Tracy E. Pannell
  125.   Shonda T. Parker
  126.   Stella R. Payton
  127.   Barbara I. Pitt
  128.   Clifton J. Pollock
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  129.   Jerry D. Portis
  130.   Adrian K. Powe
  131.   Marviona D. Powell
  132.   Antrona Price
  133.   Andra M. Quiram
  134.   Tierrany A. Ray
  135.   Suzanne S. Ritchie
  136.   Joewanda M. Roberts
  137.   Fontella A. Robinson
  138.   Tevin A. Robinson
  139.   Shakyla L. Robinson
  140.   Shandricka M. Rogers
  141.   Maria T. Roque
  142.   Alisha K. Ross
  143.   Maria M. Salinas
  144.   Lakisha T. Saloane
  145.   Rochanee Sanders
  146.   Janet D. Sawyers
  147.   Mary L. Scott
  148.   Travis S. Scott
  149.   Almeta H. Seals
  150.   Carolyn A. Shafer
  151.   Tarance L. Sharp
  152.   Natasha L. Simmons
  153.   Nicole Sims
  154.   Steven L. Skinner
  155.   Jermaine T. Smith
  156.   Cynthia Speed
  157.   Amanda R. Stewart
  158.   Jermaine D. Stubblefield
  159.   Akeem J. Taylor
  160.   Angel H. Thomas
  161.   Andrea S. Thomas
  162.   Trina C. Thompson
  163.   Melinda D. Thornton
  164.   Noelle C. Townsend
  165.   Lacreita V. Trotter
  166.   Sedarick D. Turner
  167.   Alice R. Velazquez
  168.   Henren L. Walker
  169.   Siketha S. Walker-Martinez
  170.   T'marian J. Walker-Webb
  171.   Raven R. Washington
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   172.   Angela S. Watts
   173.   Likita M. Wesley
   174.   Angelica D. Whipper
   175.   Meghan B. Williams
   176.   Tracy D. Williams
   177.   Delores T. Winfield
   178.   Roy L. Wingfield, Jr.
   179.   Keva L. Woods
   180.   Meossiha L. Young
